               IN THE UNITED STATES DISTRICT COURT

          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA                :
                                        :
                v.                      :      1:17CR460-1
                                        :
PAULA KAY BULLOCK                       :


             GOVERNMENT’S RESPONSE TO DEFENDANT’S
                  MOTION TO COMPEL DISCOVERY

      Now comes the United States of America, by and through Matthew G.T.

Martin, United States Attorney for the Middle District of North Carolina and

responds to Defendant Paula Kay Bullock’s Motion to Compel Discovery and

Return of Items Seized filed on July 18, 2018 as follows:

      The authorities governing a defendant's rights to obtain information in

the government's custody and control in criminal cases and the government's

obligations and reciprocal rights are contained in Rule 16 and Rule 26.2 of the

Federal Rules of Criminal Procedure; Title 18, United States Code, Section

3500 (Jencks Act); and the doctrine of Brady v. Maryland, 373 U.S. 83, 83 S.

Ct. 1194, 10 L. Ed. 2d 215 (1963).

      The government has and will comply in all respects with these rules in

providing discovery and inspection of evidence within its possession relevant

to the prosecution and defense of this case.




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      The government has provided Defendant Bullock with extensive

discovery both electronically and by providing access to materials in the office

of the United States Attorney’s office for the Middle District of North Carolina.

Counsel for Bullock has examined the files in this matter on at least three

occasions. These documents, plus materials provided as part of the continuing

obligation to discovery, have also been provided electronically through the

USAfx system. The government has allowed counsel for Bullock to examine the

grand jury transcripts of fact witnesses who testified as part of the grand jury

investigation of this matter in the United States Attorney’s office for the

Middle District of North Carolina.

      The government has also provided Bullock, through counsel, with copies

of the forensic images of computers seized by the Durham Police Department

during a search of Bullock’s former business, Affordable Animal Clinic (“AAC”),

in Durham, North Carolina. Copies of all objects or documents seized during

the search of AAC by the Durham Police have been provided to Bullock through

counsel for examination in the office of the United States Attorney for the

Middle District of North Carolina and have also been uploaded into the USAfx

system. In addition, the government has offered to facilitate examination of

the evidence in possession of the Durham Police, as of the date of this filing,

defendant has no taken advantage of this offer.




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      Electronic evidence from computers seized from the office of AAC have

been provided to the defendant through counsel, including forensic images of

hard-drives of seized computers and data from a personal laptop computer and

cell phone.

      The government responds to Bullock’s particular demands as follows:

      1. Controlled Substance Logs

      Bullock claims that controlled substance logs for herself and AAC were

seized by the Durham Police in May of 2017 and requests that they be produced

in discovery 1. As noted above, all copies of all documents or objects seized in

the Durham Police search of AAC have been provided to Bullock in discovery.

Further, copies of the forensic images of the seized computers have been

provided to Bullock.

      Durham officers did not seize any paper copies of controlled substance

logs. At the time of the May 2017 search of AAC, Durham police were

investigating allegations of credit card fraud and identity theft in regard to

Bullock and AAC.       The officers were not investigating allegations of

prescription fraud.




1
 Defendant requests controlled substance logs from a “May 2018” search from
AAC. The only search of AAC was executed in May 2017. The government
believes that defendant’s request for documents from the May 2018 search is
a typographical error.
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      2. Law Enforcement Files

      Bullock requests that she be provided with the "law enforcement" files

in this case.     The government has provided Bullock with all discoverable

materials in its files.

      Through the USAfx system and by direct examination, Bullock has been

provided memoranda of interviews with attached documents from the Durham

Police Department, United States Postal Inspection Service, and the United

States Department of Treasury. Bullock has also been provided with the

current copy of the United States Department of Treasury investigative case

summary, with attachments, which summarizes the course and substance of

the entire investigation. Bullock has also been provided with all reports and

memorandum of Durham Police Detective Hall as to the investigation of

Bullock.

      Bullock’s claim that she, through counsel, has been provided with

“portions” of materials is without basis. All such documents have also been

uploaded to the USAfx system, which has allowed Bullock the opportunity to

download the documents, or have been provided on computer hard-drive, disc,

or flash-drive.




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      3. Documents Related to Patsy Wiggins

      Bullock requests that “records taken during her interview with Detective

Hall in June 2018” be produced. All such records have already been produced

in discovery.

      4. Records of Costco, Target and other pharmacies.

      All records obtained from pharmacies during the investigation have been

produced in discovery. No documents were obtained for Target.




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Forensic Images

      Copies of all forensic images of the hard-drives of computers seized from

the offices of AAC have been provided to Bullock. Files downloaded from a

tablet and a cell phone have also been provided to Bullock. 2

      5. Motion for Return of Computers

      In June of 2018, federal agents discovered that Bullock had sold AAC.

Agents determined that Bullock sold AAC to a veterinarian whose initials are

B.W. in April 2018, for the purchase price of $575,000.00. The purchase of AAC

by B.W. included all clinical, lab, and office equipment not specifically

excluded. B.W. believes that the computers seized by the Durham Police were

included in her purchase of AAC.

      Without citing any legal authority, Bullock requests that the Court

compel the government to return the computers to Bullock directly instead of

to B.W. Bullock incorrectly states that no “other individual” has made a claim

of ownership and that the government has “no evidence” that any dispute over

the ownership of the computers exists.




      2
       Bullock’s counsel was informed by federal prosecutors and agents on
July 9, 2018 that the United States Postal Inspection Service was in the
process of forensically examining the seized computers and that copies of the
resulting forensic images would be provided to Bullock. Counsel for Bullock
was not told that the examination was complete at that time. Upon completion
of the examination on July 25, 2018, hard drives containing copies of the
forensic images of the computer's hard drives were delivered to the office of
Bullock's counsel.
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      As noted above, a dispute does exist over ownership of the computers.

This is a civil dispute to which the government is not a party. Pending any

court resolution of this issue, the computers will be returned to the custody of

the Durham Police Department.       Of course, as noted above, copies of the

forensic images of the computers have been provided to the defendant.

Further, the government intends to coordinate with the Durham Police

Department and the state of North Carolina to return a personal laptop and

cell phone belonging to the defendant to her counsel.

      This the 25th day of July, 2018.

                                     Respectfully submitted,

                                     MATTHEW G.T. MARTIN
                                     United States Attorney

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                          CERTIFICATE OF SERVICE

      I hereby certify that on July 25, 2018, the foregoing was electronically

filed with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the following:

Paul Moore Dubbeling, Esq.



                                      Respectfully submitted,

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                                      UNITED STATES ATTORNEY



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